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8
                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ARIZONA
9

10
     Lydia Bultemeyer, on behalf of herself and)           Case No. 2:14-cv-02530-SPL
     all others similarly situated,            )
11                                             )
     Plaintiff,                                )           PLAINTIFF’S REPLY TO
12
                                               )           CENTURYLINK’S RESPONSE TO
13           vs.                               )           MOTION TO RECONSIDER
                                               )           DISMISSAL FOR LACK OF
14
     CenturyLink, Inc.,                        )           STANDING
15                                             )
     Defendant.                                )
16

17
           Pursuant to the Court’s order (Doc. 88) dated February 24, 2017, Plaintiff Lydia
18

19   Bultemeyer (“Plaintiff”) hereby submits her reply to the response filed by Defendant
20
     CenturyLink, Inc. (“CenturyLink”) regarding Plaintiff’s motion for reconsideration.
21
     I.    Reconsideration is appropriate.
22

23
           This case presents a rare instance where reconsideration is appropriate. The

24   Court incorrectly analyzed the issue of standing in its February 15, 2017 order by
25
     comparing the instant matter to data retention and security breach cases—where
26

27
     consumers had already voluntarily given private information to the defendants. In doing

28   so, it unnecessarily focused on the lack of an allegation that CenturyLink further

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1    disseminated her credit report—when the dissemination of her report from Trans Union
2
     to CenturyLink was an invasion of her privacy sufficient to confer standing.
3

4
            Recognizing that it had no legitimate need for her consumer report between Steps

5    4 and 5 of its checkout process—and that its employees knew of this website issue and
6
     continued accessing consumers’ credit files because it was more convenient—
7

8
     CenturyLink urges the Court to find that Syed is inapposite.

9           On the same day that the instant matter was dismissed, however, this Court relied
10
     on Syed in finding standing for a violation of the FACTA, a different subsection of the
11
     FCRA which prohibits printing certain credit card information on receipts. In that case,
12

13   Deschaaf, there was no dissemination of the consumer’s information to anyone at all.
14
     This continues a trend among the district courts in the Ninth Circuit following Syed of
15
     rejecting a narrow view of standing under the FCRA. What’s more, the majority of
16

17   district courts have found standing under § 1681b(f) involving an impermissible credit
18
     pull following the decision in Spokeo—even outside the employment context and based
19
     solely on privacy concerns.
20

21          CenturyLink is right about one thing: the FCRA was designed to strike a balance
22   between business needs and consumer privacy. The Court’s holding, however,
23
     significantly erodes this privacy protection. Because Plaintiff did not initiate a business
24

25   transaction with CenturyLink, let alone one for which it had a legitimate business need

26   for her credit report, she had a congressionally protected right for it to remain private.
27
     The Court should modify its opinion and find CenturyLink liable for violating §
28
     1681b(f).
                    Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 2
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1    II.    The Ninth Circuit is likely to find that Plaintiff has standing.
2
            While the district courts are clearly “divided as to whether invasion of privacy”
3
     stemming from a “violation of the FCRA is a sufficiently concrete injury,” Landrum v.
4

5    Blackbird Enterprises, LLC, No. CV H-16-0374, 2016 WL 6075446, at *4 (S.D. Tex.
6
     Oct. 3, 2016), the Ninth Circuit has already spoken on a nearly identical issue, and it is
7
     incredibly likely that it would remand upon appellate review.
8

9           A.     The Court’s holding would virtually eliminate FCRA’s consumer
                   privacy protections.
10

11          CenturyLink argues that FCRA must not be read “to codify intangible privacy

12   rights into a concrete harm.” Doc. 90 at 9 (emphasis added). But this is exactly what the
13
     FCRA was intended to do. And the Supreme Court has reiterated that “Congress may
14

15
     ‘elevat[e] to the status of legally cognizable injuries concrete, de facto injuries that were

16   previously inadequate in law.’ ” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016),
17
     as revised (May 24, 2016) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 578
18

19
     (1992)). “[A] plaintiff in such a case need not allege any additional harm beyond the

20   one Congress has identified.” Id. Here, that harm is the invasion of consumer privacy.
21
            It is abundantly clear that Congress determined that accessing one’s consumer
22
     report without a permissible purpose was a grave violation of a consumer’s privacy.
23

24   While FCRA imposes “a host of requirements concerning the creation and use of
25
     consumer reports,” id. at 1545, this is the only type of violation for which Congress
26
     imposes heightened civil liability and even criminal liability, under certain
27

28   circumstances. See 15 U.S.C. § 1681n(a)(1)(B) (imposing maximum $1,000 statutory


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1    damages for knowingly obtaining a consumer report without a permissible purpose); 15
2
     U.S.C. § 1681q (“Any person who knowingly and willfully obtains information on a
3

4
     consumer from a consumer reporting agency [“CRA”] under false pretenses shall be

5    fined under title 18, imprisoned for not more than 2 years, or both.”).
6
            While there is no doubt that FCRA was designed to balance business needs with
7

8
     consumer privacy, the Court’s ruling would all but eliminate the consumer privacy side

9    of this equation. The only consumers who would even be able to maintain, let alone
10
     prevail on, a cause of action under 1681b(f) would be those who can plausibly allege
11
     economic harm or mental anguish resulting from the subsequent release of their
12

13   information or a diminished credit score. In the latter case, this would require the
14
     consumer to know her credit score, before and after the pull, and show that the
15
     reduction in score resulted in less attractive terms in a subsequent credit transaction.
16

17          Spokeo explained that these types of additional harm are not required. See Perrill
18
     v. Equifax Info. Servs., LLC, No. A-14-CA-612-SS, 2016 WL 4572212, at *4 (W.D.
19
     Tex. Aug. 31, 2016) (explaining that in cases where “alleged loss of privacy injury was
20

21   insufficient under the FCRA,” the courts “improperly focus on the plaintiffs’ failure to
22   allege actual damages”). Congress enacted the permissible purposes provisions of
23
     FCRA to prevent unfettered access to the credit files that the CRAs maintain on
24

25   consumers, finding that this invaded their privacy. The Court’s holding allows such

26   access to go almost entirely unchecked.
27

28



                    Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 4
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1          B.     The Court’s “dissemination” analysis was ultimately flawed.
2
           The Court incorrectly focused on the fact that CenturyLink did not disseminate
3
     Plaintiff’s Trans Union report to anyone else. It was enough that it willfully (and, in
4

5    fact, knowingly) 1 obtained her report without a permissible purpose, or, rather, that
6
     CenturyLink caused Trans Union to disseminate information to it. “[I]t has long been
7
     the case that an unauthorized dissemination of one’s personal information, even without
8

9    a showing of actual damages, is an invasion of one’s privacy that constitutes a concrete
10
     injury sufficient to confer standing to sue.” Thomas v. FTS USA, LLC, 193 F. Supp. 3d
11
     623, 636 (E.D. Va. 2016). Adopting a standard that requires “dissemination” by (as
12

13   opposed to dissemination to) the defendant would result in outcomes inconsistent with
14
     the design of FCRA’s “permissible purposes” provisions.
15
           To promote efficiency, Congress imposed a lesser obligation on the CRAs to
16

17   ensure that consumer reports were being furnished for permissible purposes, only

18   requiring them to “maintain reasonable procedures…to limit the furnishing of consumer
19
     reports to the purposes listed under section 1681b.”                   See 15 U.S.C. § 1681e(a)
20

21
     (emphasis added). Meanwhile, Congress prohibited outright any person from obtaining

22   a consumer report unless it is for a permissible purpose. Id. at § 1681b(f). To further
23
     insulate a CRA from liability when a customer improperly accesses its credit files,
24

25
     Congress declared that a person who obtains a consumer report “under false pretenses

26

27

28   1Importantly, a negligent violation is not actionable without actual damages. Compare
     15 U.S.C. § 1681n(a)(1)(A) with id. at § 1681o(a)(1).
                   Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 5
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1    or knowingly without a permissible purpose” is liable to the CRA for its actual damages
2
     or $1,000. Id. at § 1681n(b).
3

4
            Here, Plaintiff’s private and protected information was, in fact, disseminated: by

5    Trans Union to CenturyLink. Yet, it was CenturyLink, not Trans Union, with the
6
     greater obligation to ensure that it was not accessing consumer reports without a
7

8
     permissible purpose. It would be an odd result, then, for Plaintiff to have standing to

9    bring a claim against the CRA 2, Trans Union, for its improper dissemination of the
10
     information, but not have standing against CenturyLink, which took the affirmative
11
     steps to cause the dissemination and which the law holds to a higher standard.
12

13          C.     The injury is identical as in Syed.
14
            CenturyLink points to the differences between the conduct which gives rise to a
15
     claim under § 1681b(b)(2) against an employer versus a claim under § 1681b(f ) against
16

17   any person outside the employment context. But this argument ignores the reality that

18   the injury which the Ninth Circuit determined was concrete in Syed is the same in that
19
     case as it is here: the invasion of privacy from the disclosure of the consumer’s report.
20

21
            While the Ninth Circuit noted that § 1681b(b)(2) “creates a right to information”

22   and “enabl[es] applicants to withhold permission to obtain the report,” a violation of
23
     these preceding steps are not what gives rise to the claim. Syed v. M-I, LLC, 846 F.3d
24

25

26
     2 At least one district court has found that a plaintiff has standing to bring a claim
27   against the CRA for violating § 1681e(a). See Perrill, 2016 WL 4572212 at *4
     (“Considering this history and Congress’s judgment, the Court finds an invasion of
28
     privacy within the context of the FCRA constitutes a concrete harm that meets the
     injury-in-fact requirements.”).
                    Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 6
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1    1034, 1040 (9th Cir. 2017). It is only when the employer obtains the report that the
2
     injury has occurred. 15 U.S.C. § 1681b(b)(2)(A) (“a person may not procure a consumer
3

4
     … for employment purposes … unless…”). If a prospective applicant were merely

5    presented with a flawed § 1681b(b)(2) disclosure, but no report was ever obtained, not
6
     only would he lack Article III standing, he would lack statutory standing. Id.
7

8
            Thus, the “right to information” is only meaningful to the extent that its

9    deprivation led to—or ran the risk of leading to—the ultimate concrete harm:
10
     impermissibly obtaining a consumer’s report.                     Accord Landrum v. Blackbird
11
     Enterprises, LLC, No. CV H-16-0374, 2016 WL 6075446, at *4 (S.D. Tex. Oct. 3,
12

13   2016) (finding privacy argument failed because the plaintiff “does not allege that his
14
     purported authorization was ineffective, only that Defendants lacked ‘proper’ written
15
     authorization because of the incorrectly formatted disclosure”); In re Michaels Stores,
16

17   Inc., Fair Credit Reporting Act (FCRA) Litig., No. 2615, 2017 WL 354023, at *10
18
     (D.N.J. Jan. 24, 2017) (“the applicant’s consent, after being informed that the employer
19
     would be seeking such a report, vitiates any claim of a privacy violation”).
20

21          Just as an employer may only obtain an applicant’s consumer report if it first
22   makes a disclosure and gets consent, CenturyLink may only obtain Plaintiff’s consumer
23
     report if she initiates a business transaction with it and if it has a legitimate business
24

25   need for the information. That the prerequisites for lawfully invading a consumer’s

26   privacy differ in the employment context is a distinction without meaning. These
27
     provisions were added to ensure job applicants were aware that consumer reports were
28
     being used in a context in which they might not expect it.                       Whereas, consumers
                    Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 7
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1    generally expect reports to be obtained about them if and when they initiate business
2
     transactions where their creditworthiness is a relevant consideration. Nevertheless,
3

4
     violations of § 1681b(f) and § 1681b(b)(2) still result in the same concrete harm.

5           D.     The majority of district courts to review § 1681b(f) in light of Spokeo
6
                   have found standing.

7           Numerous district courts have determined that one’s privacy interest alone is
8
     sufficient to confer standing outside the employment setting. See Griffin v. Bank of Am.,
9
     N.A., No. 1:16 CV 1259, 2016 WL 7487724, at *4 (N.D. Ohio Dec. 28, 2016) (“the
10

11   alleged violations committed by Defendants when they obtained Ms. Griffin's credit
12
     report without a permissible purpose constitute a concrete harm”); Firneno v. Radner
13
     Law Grp., PLLC, No. 2:13-CV-10135, 2016 WL 5899762, at *4 (E.D. Mich. Sept. 28,
14

15   2016) (“the Court finds that the Plaintiffs’ right to privacy is ‘more substantive than
16   procedural’ such that the alleged violation of it is a concrete harm”); Perrill, 2016 WL
17
     4572212, at *4 (“In sum, Plaintiffs’ alleged invasion of privacy is a concrete harm.”).
18

19   See also Green v. RentGrow, Inc., No. 2:16-CV-421, 2016 WL 7018564, at *6 (E.D.

20   Va. Nov. 10, 2016), report and recommendation adopted, 2016 WL 7031287 (E.D. Va.
21
     Nov. 30, 2016) (privacy infringement and reduced credit score both created standing,
22

23
     and distinguishing Braitberg v. Charter Commc’ns, Inc., 836 F.3d 925 (8th Cir. 2016),

24   on the basis that defendant, RentGrow, “never had authorization to access the report”).
25
            In fact, the only case that Plaintiff has found in which the invasion of privacy
26
     was held insufficient to confer standing outside of the employment context (1) involved
27

28   a creditor obtaining a debtor’s consumer report after the creditor-debtor relationship had


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1    expired—and thus, the creditor had permission to access the consumer’s report at some
2
     point and likely had done so in the past—and (2) considered the Eighth Circuit’s
3

4
     opinion in Braitberg to be binding. See Detter v. KeyBank N.A., No. 16-00498-CV-W-

5    ODS, 2016 WL 6699283, at *1 (W.D. Mo. Nov. 14, 2016), vacated and remanded, No.
6
     16-00498-CV-W-ODS, 2016 WL 7242556 (W.D. Mo. Dec. 13, 2016) (modified to
7

8
     clarify that dismissal was without prejudice and remanding to state court).

9           E.     District courts in the Ninth Circuit—including this Court—have
                   followed Syed to find standing on other types of FCRA claims.
10

11          District courts in the Ninth Circuit have applied Syed in finding standing for
12
     violations of many other provisions of the FCRA. See Artus v. Experian Info. Sols., Inc.,
13
     No. 5:16-CV-03322-EJD, 2017 WL 346022, at *3 (N.D. Cal. Jan. 24, 2017) (rejecting
14

15   the argument that “not disclos[ing] an actual injury from [defendant’s] alleged violation
16   of § 1681s-2(b)” meant plaintiff lacked standing); Deschaaf v. Am. Valet & Limousine
17
     Inc., No. CV-16-03464-PHX-GMS, 2017 WL 610522, at *4 (D. Ariz. Feb. 15, 2017)
18

19   (printing expiration date on credit card receipt, without more, sufficient for standing);

20   Benton v. Clarity Servs., Inc., No. 16-CV-06583-MMC, 2017 WL 345583, at *1 (N.D.
21
     Cal. Jan. 24, 2017) (standing found for § 1681b(c)(1)(B)(i), “disclosing consumer
22

23
     reports to persons or entities that do not have a permissible purpose for obtaining such

24   consumer reports,” but not for § 1681b(e)(5)(A), failing to maintain a toll-free telephone
25
     number to process opt-out requests for “pre-screened offers of credit and insurance”).
26
            In Deschaaf, a plaintiff brought suit under the FACTA after she “received one or
27

28   more receipts from” a parking lot facility “on which were printed the expiration date of


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1    her credit card or debit card and the last four digits of her card number.” 2017 WL
2
     610522 at *1 (internal quotations omitted). FACTA, a series of amendments to the
3

4
     FCRA, which Congress enacted “to combat identity theft,” id. at *3, prohibits

5    merchants from “print[ing] … the expiration date upon any receipt provided to the
6
     cardholder at the point of the sale or transaction.” 15 U.S.C. § 1681c(g)(1).
7

8
            Judge Snow first observed that “[c]ourts around the country have grappled with

9    the application of Spokeo to cases under FCRA and FACTA.” Deschaaf, 2017 WL
10
     610522, at *3. He then noted that “[w]hile there is no such binding authority on the
11
     FACTA violations at issue here, Syed confirms that this Court must approach the
12

13   standing question here by analyzing whether the alleged violations deprive, or cause a
14
     real risk of depriving, consumers of substantive rights created by FACTA.” Id.
15
            Even though there was no allegation that the printing of the expiration date had
16

17   led to economic damages, Judge Snow explained that the plaintiff had standing:
18
            A person…who prints an expiration date on a receipt…does not simply
19          violate a procedural provision of FACTA but creates a real risk of identity
            theft—the very harm that FACTA was enacted to combat. There is a real
20
            risk that the customer’s right to the privacy of their credit or debit card
21          information is violated. Nor is this harm made harmless when, as here, the
            risk fails to materialize because no potential identity thief actually sees the
22          receipt. Even in this situation, the consumer must take additional steps to
23          ensure the safety of her identity; she may not simply crumple the receipt
            and throw it into a nearby trash can, but must review it to assess what was
24          printed, hold on to it, and perhaps shred it or cut it up later. The
25          inconvenience may be minor; but the additional inconvenience that a
            consumer must undertake in order to secure their own rights, when a
26          statute places that burden on others, is surely a concrete harm.
27
     Id. at *4
28
            As shown above, this Court took a very expansive view of standing in Deschaaf.
                   Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 10
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1           Notably, prior to Syed’s release, Judge Snow correctly applied the Spokeo
2
     framework to claims brought under § 1681b(b)(2). See Mix v. Asurion Ins. Servs. Inc.,
3

4
     No. CV-14-02357-PHX-GMS, 2016 WL 7229140, at *6 (D. Ariz. Dec. 14, 2016),

5    reconsideration denied, 2017 WL 131566 (D. Ariz. Jan. 13, 2017). The Court should
6
     follow the same approach in finding that CenturyLink’s invasion of Plaintiff’s privacy,
7

8
     in violation of § 1681b(f), constitutes a concrete harm sufficient to confer standing.

9    III.   Conclusion
10
            Plaintiff suffered a concrete harm. CenturyLink now possesses private
11
     information about her, when it was never legally permitted to obtain it in the first place.
12

13   This was no mere accident. CenturyLink knowingly obtained consumer reports about
14
     potential customers before they placed an order and without a legitimate business need.
15
     Congress clearly found this a reprehensible violation of consumer privacy, as shown by
16

17   the specific provisions creating heightened liability for such conduct. Striking a balance
18
     between business efficiency and consumer privacy means holding businesses like
19
     CenturyLink accountable when they intentionally violate the FCRA in this manner.
20

21

22                                                   Respectfully submitted on March 17, 2017.
23
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                   Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 11
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1                                  CERTIFICATE OF SERVICE
2
             I certify that on March 17, 2017, I filed the foregoing document with the Clerk
3    for the U.S. District Court of Arizona using the CM/ECF system which sent notification
4
     of the same to Defendant through counsel of record below as follows:

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16
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17                                                   David McDevitt
18

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                   Plaintiff’s Reply to Defendant’s Response to Motion for Reconsideration - 12
